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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

GEETA HOSPITALITY INC.
dba Hampton Inn Marysville
16610 Square Drive : Civil Action 2:20-cv-5276
Marysville, OH 43040,
Judge Sarah D. Morrison

Plaintiff,
: Chief Magistrate Judge
-Vs- Elizabeth P. Deavers
DEPENDABLE QUALITY Jury Demand Endorsed Hereon

CONSTRUCTION, LLC

c/o Valeriy Oleynik, Statutory Agent

416 Hoyt Court : AMENDED COMPLAINT
Inman, SC 29349,

-and-

VALERIY OLEYNIK
416 Hoyt Court
Inman, SC 29349,

-and-

LILIYA OLEYNIK
416 Hoyt Court
Inman, SC 29349,

-and-

AMGUARD INSURANCE COMPANY
P.O. Box 1368
Wilkes-Barre, PA 18703-1368,

-and-

REMCO INSURANCE SERVICES, INC.
80 Second Street :
Pike-Suite No. 8

South Hampton, PA 18965,

Defendants.
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Pursuant to Fed R. Civ. P. 15(a)(1)(B), Plaintiff Geeta Hospitality Inc. dba
Hampton Inn Marysville, for its Amended Complaint against Defendants
Dependable Quality Construction, LLC, AmGuard Insurance Company and Remco
Insurance Services, Inc., and alleges and avers as follows:

Jurisdiction

1. This case was originally filed in the Court of Common Pleas of Union
County, Ohio. On October 8, 2020, Defendant AmGuard Insurance Company
(‘AmGuard”) filed its Notice of Removal, pursuant to 28 U.S.C. § 1332. (Doc. 1.)

Facts Common to All Claims

2. Plaintiff Geeta Hospitality Inc. is the owner and operator of the
Hampton Inn Marysville (“Plaintiff”), located at 16610 Square Drive, Marysville,
Ohio 43040.

3. Defendant Dependable Quality Construction, LLC (“DQC’) is a
general contractor who maintains a principal place of business located at 416 Hoyt
Court, Inman, South Carolina 29349.

4. Defendant Valeriy Oleynik and Liliya Oleynik are married and reside
at 416 Hoyt Court, Inman, South Carolina 29349.

5. Upon information and belief, Valeriy and Liliya Oleynik (collectively
“the Oleyniks”) are the DQC’s ’s sole members, owners and employees.

6. Defendant Remco Insurance Services Inc. (“Remco”) is an insurance
broker with a principal place of business located at 80 Second Street Pike, Suite

8, Southampton, PA 18966.
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7. In December of 2017, Remco’s Senior Account Executive Alina
Kreymer assisted Mrs. Oleynik in applying on DQC’s behalf for a commercial
general liability policy from AmGuard, who has a principal place of business
located at P.O. Box 1368, Wilkes-Barre, PA 18703-1368.

8. Based upon an insurance application that Ms. Kreymer submitted on
DQC’s behalf, AmGuard issued a Commercial General Liability Policy, No.
DEBP990342, to DQC in February of 2018 (“the Policy’).

9. The Oleyniks and Ms. Kreymer received a copy of the Policy soon
after it was issued.

10. On or about May 17, 2018, the Plaintiff entered into a Renovation
Agreement (“Agreement”) with DQC. A true and accurate copy of the Renovation
Agreement is attached hereto as Exhibit A.

11. DQC’s scope of services under the Agreement included renovation
of the hotel and replacement of the existing metal roof with a new EPDM rubber
roof.

12. The Agreement also required DQC to be “responsible at all times for
safeguarding and securing the Premises against accidents or injury.” Agreement
§ 7.08.

13. Asa precondition to the Agreement, DQC was required to obtain a
commercial general liability policy naming Plaintiff as an additional insured.

14. Upon information and belief, Ms. Oleynik told Ms. Kreymer that the

proposed Agreement required DQC to have commercial general liability coverage.
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15. | Upon information and belief, Ms. Oleynik asked Ms. Kreymer to have
Plaintiff added as an additional insured under DQC’s Policy.

16. On or about May 14, 2018, the DQC_ provided Plaintiff with a
Certificate of Liability Insurance which identified Plaintiff as a “Certificate Holder”
or additional insured under the DQC ’s Policy. A true and accurate copy of the
Certificate of Liability Insurance is attached hereto as Exhibit B.

17. At the time Remco issued the Certificate of Liability Insurance, Ms.
Kreymer and Remco knew that Plaintiff was the owner of a hotel located at 16610
Square Drive, Marysville, Ohio 43040.

18. At time Remco prepared and issued the Certificate of Liability
Insurance identifying Plaintiff as a Certificate Holder under the Policy, Remco knew
that DQC’s insurance application had represented that DQC was only involved in
residential remodeling work and that DQC was not involved in commercial work or
roofing work and that Remco also knew that it had not requested that Plaintiff be
added as an additional insured on DQC’s Policy; and that Plaintiff had not been
made an additional insured under DQC’s Policy.

19. DQC never provided a copy of its Policy to Plaintiff.

20. Before signing the Agreement and commencing work, DQC did not
inform Plaintiff that it was only insured to perform residential work or that Plaintiff
was not an additional insured under DQC’s Policy.

21. ~~ Plaintiff detrimentally relied on the Certificate of Liability Insurance
by signing the Agreement and allowing DQC to commence work on the project.

But for the Certificate of Liability Insurance identifying the Plaintiff as a “Certificate
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Holder” under DQC’s Policy, Plaintiff would not have entered into the Agreement
with DQC .

22. In September of 2018, DQC commenced construction on the
renovation project.

23. Soon after the existing roof was removed, a rainstorm occurred,
catching DQC completely unprepared to cover and protect the building from the
storm resulting in significant water intrusion damage to the interior of the hotel,
including but not limited to damage to the ceilings, walls, carpet, furniture and other
interior finishes on at least 20 rooms on the third floor of the hotel.

24. On or about September 18, 2018, Plaintiff, through its agent,
submitted a Notice of Claim/Proof of Loss to AmGuard for the damage, which was
acknowledged by AmGuard on or about September 19, 2019. A true and accurate
copy of the Notice of Claim/Proof of Loss is attached hereto as Exhibit C.

25. AmGuard was extremely dilatory in responding to the Plaintiffs
claim. Plaintiff contacted AmGuard numerous times during the balance of 2018
and 2019, without receiving any response from AmGuard.

26. Onor about July 29, 2019, Plaintiff sent a certified letter to AmGuard
demanding action on its claim. A true and accurate copy of the certified letter is
attached hereto as Exhibit D.

27. After no action was taken, Plaintiff filed a written complaint with the
Ohio Department of Insurance in August of 2019. The complaint triggered a claim
denial letter from AmGuard on October 7, 2019. A true and accurate copy of the

claim denial letter is attached hereto as Exhibit E.
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28. To date, Plaintiff has been forced to pay more than $500,000 to
mitigate the water damage and to repair and replace interior finishes. DQC has
refused to reimburse Plaintiff for the costs to repair the storm damage to the hotel.

CLAIM ONE — Breach of Contract by Dependable Quality Construction

29. Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

30. Plaintiff fully complied with all of its duties and obligations under the
Agreement.

31. The DQC breached the Agreement by:

A. Failing to perform its construction services in a workmanlike
manner resulting in significant water intrusion damage to
Plaintiff's hotel;

B. Refusing to reimburse Plaintiff for the costs to repair the water
intrusion damage caused by DQC’s neglect; and

C. Alternatively, in the event the Court finds no coverage under
the Policy policy, failing to procure proper commercial general
liability coverage during the renovation project with the limit
identified in the Certificate of Liability Coverage; and

D. Failing to make sure Plaintiff was added as an additional
insured on the DQC’s Policy.

32. As a proximate result of DQC’s breaches of contract, Plaintiff has

suffered damages in excess of $500,000.
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CLAIM TWO - Fraud by Dependable Quality Construction,
Valeriy and Liliya Olenik

33. Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

34. Upon information and belief, Defendants Valeriy and Liliya Olenik
incorporated DQC in 2017 and are believed to be DQC’s sole owners and
employees.

35. The Oleyniks own a single-family home, located at 416 Hoyt Court,
S.C., 29349, which is the same address from which they operate DQC.

36. Valeriy Oleynik, while negotiating the Renovation Agreement
(Exhibit A) on behalf of DQC, falsely represented to Plaintiff that DQC had
obtained a commercial general liability policy as required by the Agreement.

37. Upon information and belief, the Oleyniks knew or should have
known that the DQC’s Policy was obtained by fraudulent means and/or that it did
not provide the insurance coverage required by the Agreement.

38. | The Oleyniks also knew or should have known that Plaintiff was not
an additional insured under DQC’s Policy at the time DQC signed the Agreement
and commenced work on the project.

39. Valeriy and Liliya Oleynik both conspired and/or acted in concert and
participated in obtaining the Policy by fraudulent means. With the assistance of
Remco, the Oleyniks knowingly misrepresented in their insurance application that
the DQC (1) did not perform any roofing work; (2) only performed residential work;

and (3) performed no commercial work. (Exhibit F).
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40. The Oleyniks did not inform Plaintiff that they knowingly provided
false and misleading information in order to procure the Policy or that Plaintiff was
not made an additional insured under the Policy.

41. Plaintiff detrimentally relied upon DQC’s representations by agreeing
to enter into the Agreement and allowing DQC to commence work on the project.

42. Had Plaintiff known that DQC’s policy did not cover the work to be
performed under the Agreement or that Plaintiff had not been made an additional
insured under a commercial general liability policy covering the project, Plaintiff
would not have entered into the Renovation Agreement.

43. The DQC’s ’s corporate veil should be pierced because during all
times relevant to this case:

A. The Oleyniks exercised such complete control over their
corporation that the DQC lacked a separate mind, will or
existence of its own;

B. The Oleyniks’ control over DQC was exercised in such a
manner as to commit fraud against the Plaintiff;

C. As a proximate result of the Oleyniks’ fraud, Plaintiff was led
to wrongfully believe that DQC had properly procured
commercial general liability policy for the project providing the
coverage required by the parties’ Agreement;

D. The Oleyniks’ fraud proximately caused Plaintiff to sustain

damages in excess of $500,000, plus attorneys’ fees.
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E. In addition to piercing DQC’s corporate veil, Plaintiff demands
damages, jointly and severally, against DQC and Valeriy and
Liliya Oleynik in excess of $500,000, plus recovery of
Plaintiffs reasonable attorneys’ fees and litigation costs,
punitive damages and prejudgment and post judgment
interest.
CLAIM THREE - Breach of Contract by AmGuard

44. Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

45. Upon information and belief, Plaintiff was a “Certificate Holder” or
additional insured under DQC’s Policy (# DEBP990342).

46. Alternatively, Plaintiff was an intended third-party beneficiary under
the Policy.

47. AmGuard breached the Policy by failing to timely respond to
Plaintiff's Notice of Claim/Proof of Loss submitted to AmGuard.

48. AmGuard did not respond to Plaintiff's claim until it was forced to act
after Plaintiff filed a complaint against AmGuard with the Ohio Department of
Insurance.

49. AmGuard breached its Agreement with Plaintiff by failing to pay for
the damage resulting from the rainstorm, which includes significant consequential

damages to the hotel caused by DQC’s negligence
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50. AmGuard’s authorized agent, Remco, led Plaintiff to believe that it
was a Certificate Holder under DQC’s Policy, and that the Policy covered the
project.

51. Asa proximate result of AmGuard’s breach of contract, Plaintiff has
suffered damages in an amount in excess of $500,000, plus prejudgment and post-
judgment interest and the costs and expenses of this litigation.

CLAIM FOUR - Bad Faith by AmGuard

52. ‘Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

53. On or about May 14, 2018, AmGuard’s agent Remco issued a
Certificate of Liability Insurance identifying Plaintiff as a “Certificate Holder” or
additional insured under DQC’s Policy (# DEBP990342).

54. In September of 2018, soon after the damage to the hotel occurred,
Plaintiff submitted a Notice of Claim/Proof of Loss (“Claim”) to AmGuard for the
damages caused by the rainstorm and DQC’s negligence.

55. AmGuard, however, did not respond to Plaintiffs Claim until after
Plaintiff filed a complaint against AmGuard with the Ohio Department of Insurance.

56. On October 7, 2019, AmGuard issued a claim denial letter.

57. AmGuard owed a duty to exercise good faith in processing Plaintiffs
Claim.

58. AmGuard’s failure to provide a timely coverage determination is not

reasonably justified.

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59. As adirect and proximate result of the bad faith actions by AmGuard,
Plaintiff was required to spend over $500,000 of its own funds to repair the building
and, on top of that, hire legal counsel to file this action.

60. AmGuard’s actions constitute bad faith and justify an award of
compensatory, consequential and punitive damages, attorneys’ fees, prejudgment
and post-judgment interest and the costs and expenses of this litigation.

CLAIM FIVE — Professional Negligence Against
Remco Insurance Services

61. Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

62. In December of 2017, Remco’s Senior Account Executive, Alina
Kreymer, filed an application, on behalf of DQC to obtain a commercial general
liability policy form AmGuard.

63. The application submitted by Ms. Kreymer represented that DQC
only performed residential remodeling work and performed no commercial or
roofing work.

64. Upon information and belief, Remco knew or should have known that
DQC performed both commercial and roofing work at the time it assisted DQC in
applying for insurance from AmGuard.

65. Upon information and belief, Remco knew or should have known that
the Oleyniks provided false and/or incomplete information on their insurance

application.

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66. After the Policy was issued, Mrs. Oleynik notified Ms. Kreymer that
DQC was negotiating the contract with Plaintiff to renovate its Ohio hotel and that
as a condition of the contract, DQC was required to have insurance coverage for
the project and make Plaintiff an additional insured under DQC’s Policy.

67. Ms. Oleynik asked Ms. Kreymer to contact AmGuard and have
Plaintiff added as an additional insured under its policy. However, Remco never
requested, or alternatively was unsuccessful, in having Plaintiff added as an
additional insured under the Policy.

68. At the time the Certificate of Insurance was issued by Ms. Kreymer,
she knew that it falsely identified Plaintiff additional insured under DQC’s Policy
and that the Policy did not cover commercial or roofing work.

69. Ms. Kreymer and Remco knew that the Certificate of Insurance was
requested in order to induce Plaintiff to enter into a contract with DQC to renovate
Plaintiffs Marysville, Ohio hotel.

70. Remco breached its standard of care by providing a Certificate of
Liability Insurance purporting to make Plaintiff a Certificate Holder under DQC’s
Policy even though Remco knew or should have known at the time that Plaintiff
was not an additional insured under the Policy.

71. As a proximate result of Remco’s negligence, Plaintiff has incurred
damages in excess of $500,000 to repair the property, plus consequential

damages and costs and expenses to pursue this action.

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CLAIM SIX — Intentional and/or Negligent Misrepresentation Against
Remco Insurance Services

72. Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

73. — In December of 2017, Alina Kreymer, Senior Account Executive with
Remco filed an application on behalf of DQC with AmGuard to obtain commercial
general liability policy.

74. Ms. Kreymer obtained the information for the application during a
telephone conversation with Lilya Oleynik.

75. The insurance application prepared by Ms. Kreymer and Remco

provided the following answers concerning DQC’s business:

Does the prospect do roof work? *() Yes (X) No
What is the percentage of residential work?  *100
What is the percentage of commercial work? *0

76. Based upon the information provided by Remco in the insurance
application, AmGuard issued DQC’s Policy (No. DEBP990342) in February of
2018.

77. In February of 2018, Remco received a copy of DQC’s Policy which
identified DQC as being a Residential Remodeler.

78. In May of 2018, the Lilia Oleynik notified Ms. Kreymer that DQC
desired to enter into the Agreement to renovate Plaintiffs Ohio hotel.

79. Mrs. Oleynik further advised Ms. Kreymer that as a precondition to

the Agreement, that Plaintiff required DQC to have commercial general liability

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insurance to cover the Ohio project and that Plaintiff had to be added as an
additional insured on the DQC’s Policy.

80. Ms. Oleynik asked Ms. Kreymer to add Plaintiff as an additional
insured under DQC’s Policy and prepare a Certificate of Liability Insurance
identifying Plaintiff as a Certificate Holder under the Policy.

81. Ms. Kreymer was either unsuccessful or failed to request that Plaintiff
be added as an additional insured under DQC’s Policy.

82. On May 14, 2018, Ms. Kreymer prepared a Certificate of Liability
Insurance falsely representing that Plaintiff was a “Certificate Holder’ or additional
insured under DQC’s Policy and indicating that the Policy covered an Ohio
commercial project.

83. | Because Ms. Kreymer assisted DQC in obtaining the Policy and had
a copy of the Policy before preparing the Certificate of Liability Insurance, Ms.
Kreymer and Remco knew or should have known that the Policy did not cover a
commercial renovation project and that Plaintiff was not an additional insured
under the Policy.

84. Ms. Kreymer and Remco knew that that the Certificate of Insurance
was intended to be given to Plaintiff to induce it into contracting with DQC for the
Hampton Inn renovation project.

85. | Remco knew or should have known that Plaintiff would justifiably and
detrimentally rely upon being identified as a Certificate Holder under the Policy. :

86. As a proximate result of Remco’s intentional and/or negligent

misrepresentations, Plaintiff has incurred damages in excess of $500,000.

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87. Remco is liable to Plaintiff for all repair costs, consequential
damages, plus punitive damages, attorneys’ fees, prejudgment and post-judgment
interest and the expenses and costs of this action.

CLAIM SEVEN -— Civil Conspiracy by Defendants DQC, Valeriy and Liliya
Oleynik and Remco

88. Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

89. DQC, Valeriy and Lilya Oleynik and Remco conspired and acted in
concert to commit fraud against Plaintiff by providing a Certificate of Insurance to
Plaintiff that Defendants knew falsely identified Plaintiff as a “Certificate Holder’ or
additional insured under DQC’s Policy which at the time they knew or should have
known did not provide coverage for a commercial construction project or involving
roofing work.

90. Defendants DQC and Remco also knew or should have known that
Plaintiff would detrimentally rely upon the representations in the Certificate of
Insurance by contracting with DQC and allowing it to commence work on the
project.

91. DQC, Valeriy and Lilya Oleynik and Remco are jointly and severally
liable for the costs to repair Plaintiffs hotel, plus punitive damages, attorneys’ fees,
prejudgment and post-judgment interest and the expenses and costs of this action.

CLAIM EIGHT — Remco’s Aiding and Abetting Fraud
92. Plaintiff incorporates by reference the preceding paragraphs as if

fully rewritten herein.

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93. Alternatively, Remco is liable for aiding and abetting fraud by
knowingly giving substantial assistance to the efforts by the Oleyniks and DQC to
to deceive Plaintiff into believing that DQC’s Policy covered a commercial
renovation project which involved roofing work and that Plaintiff was Certificate
Holder and additional insured under the Policy.

94. Asaresult of Remco’s misconduct, Plaintiff has incurred over a half-
million dollars in out of pocket costs to repair its hotel.

CLAIM NINE - Declaratory Judgment Against Defendants, R.C. 2721.02

95. ‘Plaintiff incorporates by reference the preceding paragraphs as if
fully rewritten herein.

96. An actual, present and justiciable controversy exists between
Plaintiff and Defendants on the following matters.

97. Pursuant to Ohio Revised Code § 2721.02, Plaintiff asks the Court
for a declaratory judgment as stated in the aforementioned allegations contained
in paragraphs 1-94, and including but not limited to the following:

Breach of Contract by DQC

98. That DQC breached the Agreement by:

A. Failing to perform its construction services in a workmanlike
manner resulting in significant water intrusion damage to
Plaintiff's hotel;

B. In the event the Court finds no coverage under the Policy, by
failing to procure proper commercial general liability coverage

for the renovation project as required by the parties’

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Agreement with the limits identified in the Certificate of
Liability Coverage; and

C. Failing to make sure Plaintiff was added as an additional
insured to a DQC’s Policy.

99. That DQC’s corporate veil should be pierced because:

A. the Oleyniks exercised such complete control over their
corporation that DQC lacked a separate mind, will or
existence of its own;

B. the Oleyniks’ control over the corporation was exercised in
such a manner as to commit fraud against the Plaintiff;

C. as a proximate result of the Oleyniks’ fraud, Plaintiff was led
to wrongfully believe that DQC had properly procured the
Policy for the project and that Plaintiff had been added as an
additional insured under the policy;

D. The Oleyniks’ fraud has proximately caused Plaintiff to sustain
damages;

E. That Valeriy and Liliya Oleynik be held jointly and severally
liable for damages in excess of $500,000, plus recovery of
Plaintiffs reasonable attorneys’ fees and litigation costs,
punitive damages and prejudgment and post-judgment

interest.

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Fraud by Defendants DQC, Valeriy and Lilya Olenik

100. That Defendants Valeriy and Liliya Oleynik and DQC committed
fraud by intentionally misrepresenting that Plaintiff was a Certificate Holder and
additional insured under DQC’s Policy and that the Policy had the insurance
required by the parties’ Agreement.

101. That Defendants DQC, Valeriy and Liliya Oleynik are jointly and
severally liable for Plaintiff damages in excess of $500,000, plus punitive damages,
attorneys’ fees, prejudgment and post-judgment interest and the costs and
expenses in this action.

Civil Conspiracy Against Defendants DQC, Valeriy and Lilya Olenik
and Remco

102. That Valeriy and Liliya Oleynik, DQC and Remco conspired and/or
acted in concert to commit fraud against Plaintiff by misrepresenting that DQC had
coverage for the Hampton Inn renovation project and that Plaintiff was a Certificate
Holder and additional insured under DQC’s Policy.

103. That Valeriy and Liliya Oleynik, DQC and Remco be jointly and
severally liable for Plaintiffs damages, including the costs incurred to repair the
property, punitive damages, reasonable attorneys’ fees, prejudgment and post-
judgment interest and costs of this action.

Aiding and Abetting Fraud by Remco

104. Alternatively, that Remco aided and abetted fraud by knowingly
giving substantial assistance to the Oleyniks and DQC in their successful efforts
to deceive Plaintiff into believing that DQC’s Policy covered a commercial

renovation project which included roofing work and that Plaintiff was Certificate

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Holder and additional insured under DQC’s Policy, resulting in Plaintiffs damages
alleged in this action.
Intentional and Negligent Misrepresentation by Remco

105. That Remco intentionally and/or negligently misrepresented in the
Certificate of Insurance that DQC had the coverage and limits identified in the
Certificate; that the Policy covered a commercial project which involved roofing
work and that Plaintiff was a Certificate Holder and additional insured under DQC’s
Policy.

106. That in reliance upon receiving the Certificate of Insurance, Plaintiff
entered into the Agreement with DQC,

107. That Remco be liable for the damages caused by its intentional
and/or negligent misrepresentations, including repair damages, punitive damages,
reasonable attorney's fees and prejudgment and post judgment interest.

Professional Negligence by Remco

108. That for the foregoing reasons, Remco breached its professional
standard of care, and therefore, was negligent by failing to act with the degree of
skill, knowledge, care and diligence normally applied to insurance brokers and
agents under the circumstances of this case.

109. That Remco’s negligence was. a proximate cause of Plaintiffs
damages.

Breach of Contract by AmGuard

110. That the Court declare that the rainstorm, which proximately caused

damage to Plaintiffs hotel, was an accident or “occurrence” under DQC’s Policy.

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111. That Plaintiff was an additional insured under DQC’s Policy.

112. Plaintiff further asks the Court to declare that part of the damages
suffered by Plaintiff are consequential in nature and were covered under the Policy
issued to the Contractor by AmGuard.

113. That AmGuard breached its duties to Plaintiff under the Policy by
failing to timely settle Plaintiffs claim and pay for the direct and consequential
damages caused by the rainstorm.

114. That AmGuard be ordered to reimburse Plaintiff for its out of pocket
costs incurred to repair the damage to the hotel, plus prejudgment and post-
judgment interest and the costs and expenses in this action.

Bad Faith by AmGuard

115. That AmGaurd acted in bad faith by failing to timely respond to
Plaintiffs Proof of Claim/Loss that it received on September 18, 2018 and by
denying Plaintiff's claim.

116. As a proximate result of AmGuard’s bad faith, Plaintiff is entitled to
recover the amounts it paid to repair its hotel, plus punitive damages, reasonable
attorneys’ fees and prejudgment and post-judgment interest at the statutory rate,
which shall be determined later by the Court.

WHEREFORE, Plaintiff demands judgment as follows:

Claim One: Judgment against Dependable Quality Construction, LLC for an

amount in excess of $500,000, plus reasonable attorney’s fees and the costs

and expenses incurred in this action plus prejudgment and post-judgment
interest;

Claim Two: That Dependable Quality Construction, LLC’s corporate veil be

pierced and that it, along with Valeriy and Liliya Oleynik, be found jointly and
severally liable for fraud and compensatory damages in excess of $500,000,

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plus punitive damages in an amount to be determined by the Court, Plaintiffs
reasonable attorneys’ fees and any other relief the Court deems just;

Claim Three: Judgment against AmGuard for an amount in excess of
$500,000, plus punitive damages, reasonable attorney’s fees and the costs and
expenses incurred in this action plus prejudgment and post-judgment interest;

Claim Four: Judgment against AmGuard for an amount in excess of $500,000,
plus punitive damages, reasonable attorney’s fees and the costs and expenses
incurred in this action plus prejudgment and post-judgment interest;

Claim Five: Judgment against Remco for an amount in excess of $500,000,
plus the costs and expenses incurred in this action plus prejudgment and post-
judgment interest:

Claim Six: Judgment against Remco for an amount in excess of $500,000,
plus punitive damages, attorneys’ fees, prejudgment and post-judgment
interest and the costs of this action;

Claim Seven: Judgment against Remco for an amount in excess of $500,000,
plus punitive damages, attorneys’ fees, prejudgment and post-judgment
interest and the costs of this action;

Claim Eight: Judgment against Remco for an amount in excess of $500,000,
plus punitive damages, attorneys’ fees, prejudgment and post-judgment
interest and the costs of this action;

Claim Nine: Declaratory Judgment against Defendants AmGuard and/or
Remco, as stated in Paragraphs 81 - 103 above, for an amount in excess of
$500,000, plus punitive damages, reasonable attorneys’ fees and the costs and
expenses incurred in this action plus prejudgment and post-judgment interest.

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Respectfully submitted,
LANE ALTON

/s/ Joseph A. Gerling

 

Robert M. Morrow 0012367
Joseph A. Gerling 0022065
Scott A. Fenton 0068097

Two Miranova Place, Suite 220
Columbus, Ohio 43215

(614) 228-6885
rmorrow@lanealton.com
igerling@lanealton.com
sfenton@lanealton.com
Attorneys for Defendants

JURY DEMAND
Answering Defendants hereby demand that the issues of this case be tried
before a jury of eight (8) persons.
Respectfully submitted,
LANE ALTON

/s/ Joseph A. Gerling

 

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Attorneys for Defendants

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Fl RVIC
| hereby certify that on the 8!" day of December, 2020 a copy of the

foregoing Amended Compliant was served upon the following via electronic mail:

Steven G. Janik

Chrystal L. Maluchnik

Janik L.L.P.

9200 South Hills Blvd., Suite 300
Cleveland, OH 44147-3521
Steven. Janik@Janiklaw.com
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Counsel for Defendants Dependable Quality
Construction, LLC, Valeriy and Lilya Oleynik

Gregory D. Brunton, Esq.

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Zachary B. Pyers,

Kenton H. Steele

Reminger

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Counsel for Defendant Remco Insurance Services, Inc.

/s/ Joseph A. Gerling

 

Joseph A. Gerling 0022054

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RENOVATION AGREEMENT

Agreement between Owner and Contractor

This AGREEMENT made as of the May 17, 2018 between the Owner: [Geeta Hospitality Inc, of

16610 Square Drive, Marysville, Oh, 43040] the Contractor: [Dependable Quality Construction,

LLC of 416 Hoyt Court, Inman, SC 29349] and the Project (Hampton Inn, 16610 Square Dr.
_ Marysville, Oh 43040).

The Owner and the Contractor agree as set forth below.
ARTICLE I.
The Contract Documents

Section 1.01. The Contract Documents, which constitute the entire agreement between the
Owner and the Contractor are enumerated as follows:
(i) This Agreement,

Section 1.02. The Contract Documents form the Contract and all are fully a part of the Contract
as if attached to this Agreement or repeated herein.

ARTICLE II,

The Work

Section 2.01. The Contractor shall perform all the Work set out in addendum A.

ARTICLE III.
Time of Commencement and Substantial Completion

The Work to be performed under this Contract shall commence on a mutually agreed upon date
after execution of this Contract. Contractor is to make all efforts subject to the limitations in
this Contract, to complete the Work as expeditiously as possible, Unnecessary interruption in the
Work or failure to supply enough crews to adequately complete the Work with diligence will
permit the Owner to have the right to seek any redress available under the terms of this Contract
or as are available in law or equity.

The date of commencement of the Work shall be the date on which the date on which the Work
actually starts. This Work has to be completed within 90 days from the commencement date.
Completion shall be the date on which all Work may cease and all debris shall have been
removed from the site by the Contractor, as determined by the Owner or its duly authorized
representative. A grace period of 10 business days will be given for completion,

EXHIBIT

 
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ARTICLE IV.
Contract Sum

Section 4.01. The Owner shall pay the Contractor in current funds for the performance of the
Work, subject to additions and deductions by Change Order as provided in the Contract
Document, the Contract Sum of $575,000. The Contract Sum includes all applicable sales and
use taxes. Owner agrees to execute a Capital Improvement Certificate if requested by Contractor.
Payment amount for partial work completed will be based on pro-ration of completed work. A
5% retainage will be withheld from every non-material invoice. This retainage will be paid to
contractor after satisfactory completion of Work.

ARTICLE V.

Section 5,01. Based upon Applications for Payment submitted to the Owner by the Contractor ,
the Owner shall make progress payments on account of the Contract Sum to the Contractor for
work done upon completion or partially by room.

Section 5.02. The Contract Sum includes the cost of all labor and materials required for the
Work. It is expressly understood by the Contractor that the total cost of the Work to the Owner
will in no event exceed the Contract Sum unless Change Orders are agreed upon by the Owner.

Section 5.03. The Owner in executing this Contract has relied upon Contractor's warranty and
representations that it is familiar with the patent conditions of the building and the requirements
of all public agencies having jurisdiction thereof.

Section 5.04. Payments may be withheld on account of: (i) defective Work not remedied, (ii)
claims filed by third parties with respect to work performed under this Contract up to the amount
of such claim plus ten percent (10%), (ili) failure of the Contractor to make payments properly to
Subcontractors or for labor, materials, or equipment, (iv) reasonable evidence that the Work
cannot be completed, (v) reasonable evidence that the Work will not be completed prior to the
required completion date unless extended by mutual agreement and that the unpaid balance
would not be adequate to cover actual damages for the anticipated delay, or (vi) persistent failure
to carry out the Work in accordance with the Contract.

ARTICLE VI.

Final Payment

Section 6,01. Final payment, constituting the entire unpaid balance of the Contract Sum
including retainage, shall be paid by the Owner to the Contractor within thirty 3 0) days after the
final completion of the Work and after all of the following have occurred:

(a) The Contractor has certified to the Owner in writing that all Work has been completed;

(c) The Contractor has satisfactorily complied with all of the provisions of this Agreement and
that no defects have appeared in the Work.
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(d) The Contractor delivers to the Owner an affidavit acknowledging payment in full and
releasing Owner from any liability.

ARTICLE VII.
Miscellaneous Provisions

Section 7.01. Definitions. Unless expressly defined in this Agreement, terms used in this
Agreement which are defined in the General Conditions of the Contract shall have the meanings
designated in those Conditions.

Section 7.02, Unexpected Conditions. Unforeseen or unforeseeable conditions, or conditions
not previously observed by the Engineer and/or the Contractor may arise while the Work is in
progress, Work in connection with such conditions, as and if discovered, shall be subject to field
determination and direction by the Owner; and no Work and/or additional costs are, nor are to be
construed as, authorized by Owner except as per written addendum hereto signed by Owner.
Field observation by the Owner may result in a determination to limit the Work already specified
in which event the Contract Sum shall be equitably reduced.

Section 7.03. Certificates; Schedule of Work

(a) The Contractor shall furnish certifications, governmental permits, and material specifications
for approval, and all like required submissions within ten (10) days after the date hereof. The
Contractor shall also supply a Schedule of Work to which Contractor shall adhere. Such
Schedule shall conform to the time limitations set forth in Section 3.01 above. The Owner shall
have the option to cancel this Contract if the Schedule of Work is not acceptable to Owner.

(b) The Work shall be undertaken at the Building only between the hours of 8:00 a.m. and 7:00
p.m. The Contractor shall not work on the Building on weekends or holidays without Owner's
prior consent. All overtime or other extra charges incurred in connection with the Work during
periods other than as specified in the first sentence shall be paid by Contractor.

Section 7.04. Storage; Scaffolding; Protection

(a) If Owner provides space within the Building or courtyard(s) for the storage of Contractor's
materials and tools, Contractor shall agree that Owner shall have no obligations or liability for
theft, damage, or loss. Contractor agrees to perform no Work in such space and to keep such
space neat and broom clean and to remove each day all construction debris and garbage.

(b) Contractor shall take all steps necessary to protect workers, the public, and tenants in the
Building from personal injury or property damage, including, without limitation, the erection of
warning signs and roping off of courtyards and sidewalks affected by the work.

(c) Storage of materials in the Building will be limited to areas designated by the Owner. No
rubbish accumulation is permitted. No storage of flammable materials or caustic chemicals is
permitted in the Building. Contractor shall leave all roofs, hallways, courtyards, and other
portions of the Building free of debris, and these areas shall be broom cleaned at the end of each
workday. Damage to roof, hallways, windows, or other surfaces caused by Contractor shall be
repaired promptly by the Contractor at [his/her] sole expense as directed by the Owner.
Contractor shall replace any glass broken by the Work by the end of each working day.

(d) The Contractor shall leave the Work and the Building clean and in good condition at the end
of every work day. Splatters on windows, sills, air-conditioners, and other areas shall be removed
at Contractor's expense before the end of the work day, or sooner if directed by the Engineer.
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Section 7.08. Safeguards. Contractor shall be responsible at all times for safeguarding and
securing the Premises against accidents or injury.

Section 7.09. Permits. - If required. Contractor shall be solely responsible for obtaining any
required permits for the Work to be performed and/or equipment or protection means to be used
or erected. Contractor shall keep such permits valid and in force throughout the project period.
The costs or charges and fees are included for all such permits as an integral part of the Contract
Sum. Unless otherwise directed, Contractor shall neither be responsible for the filing of Building
Notices with the Building Department, nor for Certificates of Controlled Inspections required
pursuant to such Building Notices.

Section 7.10, Compliance with Codes. Notwithstanding anything in the Specifications and/or
the Contract or Contract Documents which may be or subsequently become a part hereof,
Contractor shall at all times comply with the Building and Construction Code of the City of
Marysville and all other codes or regulations having jurisdiction, including without limitation,
the Occupational! Safety and Health Act, the Environmental Protection Act, and related
regulations of the federal government. However, Contractor shall advise Owner of any such
conflict between Code requirements and the Specifications or this Contract.

Section 7,11, Employee Safety. Building Safety

(a) Contractor agrees that it is responsible and liable for the safety of its employees, agents,
subcontractors, and/or their employees or agents, at al! times during or in connection with the
performance.

Section 7.12, Owners Agents.
(a) Contractor acknowledges that there are no agents of Owner who are authorized to act on

behalf of owner except the GM of the hotel.

Section 7.13. Payments Not Acceptance or Waiver. The payment of any portion of the
Contract Sum shail neither be deemed acceptance of the Work or any additional or optional
Work or any part thereof nor approval of the manner in which the Work was performed. All
payments are made on account of all Work and any additional or optional Work to be performed
pursuant to this Contract and are not allocated to specific items of Work or additional Work
performed pursuant to this Contract.

Section 7.14. Right to Terminate Contract on Account of Contractor's Insolvency. If the
Contractor should be adjudged as a bankrupt or if it should make a general assignment for the
benefit of creditors, or if a receiver should be appointed on account of its insolvency, then the
Owner may, without prejudice to any other right or remedy, terminate this Agreement without
further notice and take possession of the premises and al! materials, tools, and appliances thereon
to finish the work by whatever method the Owner may deem expedient. In such case, the
Contractor shall be entitled to receive payment for all Work properly completed to the date of
termination, provided, however that such sum shall not be paid until the Work is completed. If
the expense of finishing the Work shall exceed the cost had this Agreement not terminated as
provided herein, the Contractor shall pay such excess to the Owner.

Section 7.15. Completion of Punch List Items, Notwithstanding the final payment provisions
recited herein above in this Agreement, if, on or before the tenth (10th) day prior to the date on
which such payment shall be due pursuant to said provisions, Owner shall furnish Contractor
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with a so-called "punch list," then on the date final payment is due, Owner shall be entitled to
withhold the final payment until Contractor shall notify Owner that the punch list items have
been completed (but in no event shall Owner be obligated to make such final payment prior to
that day if any difference of opinion between Owner and Contractor as to the amount which
Owner shall be entitled to withhold, and/or as to whether the punch list items have been
completed, the matter(s) shall be resolved by the Engineer). If no resolution is effected within
seven (7) days of the occurrence of the difference of opinion, the provisions governing disputes
between the parties shall govern.

Section 7.16. Cleaning Up. “Contractors obligation as to cleaning up under this paragraph
includes removal of paint stains and all smears from all surfaces, cleaning of lighting, plumbing,
and other fixtures caused by the Contractor; cleaning all aluminum; and cleaning all resilient
floors. Contractor shall be responsible for broken glass caused by Contractors acts.

Section 7.17. Delays. Owner's responsibility for delays caused by Owner, where not otherwise
excused by events beyond its control (which such "“beyond-control" events include labor
controversies even though Owner is a party to any such controversy) is limited to granting an
extension of time for performance but in no circumstances shall there be exposure to damages.
This limitation applies to any other provision of these Conditions in the print thereof dealing
with damages for delays or like provisions appearing elsewhere in the Contract Documents.

Section 7.18. Jurisdiction. This Agreement will be governed by and construed in accordance
with the laws of the state of Ohio, without reference to any conflicts of law principles thereof.

Section 7.19. Communication. All communication will be deemed lawful if sent be email,

ARTICLE VII.
Supervision

Section 8.01. The Contractor shall supervise and direct the Work, using the Contractor's best
skill and attention. The Contractor shall be solely responsible for and have control over
construction means, methods, techniques, sequences, and procedures and for coordinating all
portions of the Work under the Contract.

Section 8.02. The Contractor shall enforce good order among the Contractor's employees and
other persons carrying out the Contract.

_ Section 8.03. The Contractor shall be responsible for initiating, maintaining, and supervising all
safety precautions and programs in connection with the performance of the Contract.

Section 8.04. The Contractor shall give all notices and comply with all applicable laws,
ordinances, rules, regulations, and lawful orders of any public authority bearing on the safety of
persons or property or their protection from damage, injury, or loss.

Section 8.05. The Contractor shall erect and maintain, as required by existing conditions and
progress of the Work, all reasonable safeguards for safety and protection, including posting

 
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danger signs and other warnings against hazards, promulgating safety regulations, and notifying
owners and users of adjacent utilities.

Section 8.06. The Contractor shall promptly remedy all damage or loss to any property caused in
whole or in part by the Contractor, any Subcontractor, or anyone directly or indirectly employed
by any of them, or by anyone for whose acts any of them may be liable and for which the
Contractor is responsible except damage or loss attributable to the acts or omissions of the
Owner or anyone directly or indirectly employed by either of them, or by anyone for whose acts
either of them may be liable, and not attributable to the fault or negligence of the Contractor.

Section 8.07. The Contractor will make sure that its President will visit the site a minimum of
once a week,

Section 8.08. Owner will be responsible for Contractor’s lodging, dumpsters, storage containers
and boom lift.

ARTICLE IX.
Warranties

Section 9.01, All materials and equipment supplied shall be as required by the Specifications and
shall be new and of acceptable quality and condition. Unless elsewhere specified herein, the
Contractor guaranties all workmanship and materials to be merchantable and free from latent and
other defects for the periods described in the General Conditions. If any Work or materials are
defective in any respect, Contractor warrants that [he/she] shall, at [his/her] own expense, repair
or replace any and all equipment, parts, or structure promptly after notification by the Owner or
its representative, but in all events within thirty (30) days of such notice.

Section 9.02. No material, supplies, or equipment for the Work shall be purchased by the
Contractor subject to any chattel mortgage or under a conditional sale or other agreement by
which an interest therein or in any part thereof is retained by the seller or supplier of such
material, supplies, or equipment. The Contractor warrants good title to all materials, supplies,
and equipment installed or incorporated in the Work and agrees upon completion of all Work to
deliver the premises, together with all improvements and appurtenances constructed or placed
thereon by [him/her], to the Owner free from any claims, liens, or charges and further agrees that
neither [he/she] nor any person, firm, or corporation furnishing any material or labor for any
Work covered by this Contract shall have any right to a lien upon the premises or any
improvements or appurtenances thereon.

Section 9.03. The Contractor shall not at any time suffer or permit any lien, attachment, or other
encumbrance under the laws of Ohio or otherwise by any person or persons whomsoever to
remain on file against any money due or to become due for any Work done or materials
furnished under the Contract or by reason of any other claim or demand against the Contractor.
Such lien, attachment, or other encumbrance until it is removed shall preclude any payment due
from Owner to Contractor and any and all claims or demands for any payment under and by
virtue of the Contract up to the amount of such claim, demand or lien plus fifteen percent (15%).
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Section 9.04. The Contractor shall provide and pay for labor, materials, equipment, tools,
construction equipment, and machinery, and other facilities and services necessary for the proper
execution and completion of the Work.

Section 9.05. The roof work will have a warranty of 30 years and the rest of the work is
warranted for 10 years,

ARTICLE X.
Cleaning Up and Repair

Section 10.01. Contractor shall leave all work areas clean and free of any garbage or debris or
materials, whether used or new, upon completion of the Work. During the period while Work is
ongoing, Contractor shall remove all debris from all interior parts of the Building on a daily
basis. All other debris shall be removed on a regular basis or as per direction of Owner. Removal
of debris shall be such as not to be detrimental to tenants or occupants. Emergency exists,
doorways, and halls shail not be obstructed at any time. Hazardous or flammable materials shal]
not be stored or accumulated at any time, except during periods of actual use, and then only if
appropriate or required safeguards are employed, including but not limited to the use of
appropriate containers, fire extinguishers, and like safety measures, and upon the prior written
notice to Owner.

Section 10.02. Owner shall provide appropriate containers for the accumulation of construction
debris, and shall cause same to be removed or emptied, all in accordance with all requirements of
government bodies having jurisdiction and/or other requirements, Contractor shall obtain all
permits and pay all fees incident to the use of such containers and/or arrange for disposal of
construction debris, and it shall hold Owner and [his/her] duly authorized representative
harmless from and against all proceedings, or fines which may result from the accumulation,
storage, and/or disposal of construction debris,

Section 10.03, The Contractor shall at all times keep the premises free from accumulations of
waste material or rubbish caused by its employees or work, and at the completion of the work it
shall remove all its remaining rubbish from and about the Building and all its tools, scaffolding,
and surplus materials, and shall leave the Building "broom clean." In case of dispute, the Owner
may remove the rubbish and charge the cost to the Contractor,

Section 10.04. At no time shall any rubbish be thrown from the windows or roof of the Building,

Section 10.05. When directed and before the final inspection, the entire exterior and interior of
the Building and the surrounding areas shall be cleared of all rubbish caused by the Contractor

including the following:
(a) All construction facilities, debris, and rubbish shall be removed from the Owner's property.

(b) Access spaces shall be left thoroughly clean.
(c) All material shall be new and in an undamaged condition.

Section 10.06. If a dispute arises between the Contractor and separate contractors as to their
responsibility for cleaning up, the Owner may clean up and charge the cost thereof to the
contractors responsible therefore,

 
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OWNER: Geeta Hospitality Inc. CONTRACTOR: Dependable Quality Construction,
LLC.
By: Amar Pandey, President By: Valeriy Oleynik, President
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f . Fy
16610 Square Dr. 416 Hoyt Court
Marysville, OH 43040 Inman, SC 29349

 

ADDENDUM ‘A’ TO FOLLOW.

 
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| DEPEN-2 OP ID: A
ACORD CERTIFICATE OF LIABILITY INSURANCE osrar2018.

 

 

THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.

 

IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.

lf SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).

 

PRODUCER .
Remco Insurance Services Inc

215-357-7878

contact Alina A. Kreymer

 

 

 

 

 

 

 

 

 

PHON = - - -
0 Second Street Pike - Ste #8 (AIC, No, ext 215-357-7878 (ANG, No):215-357-6640
outhampton, EMAIL... alina@remcoinsuranceservices.com
Alina A. Kreymer | ADDRESS: @
INSURER(S) AFFORDING COVERAGE NAIC #
INSURER A: AMGuard Insurance Group 42390
INSURED Dependable Quali :
Construction iia INSURER B
416 Hoyt Ct INSURER C :
Inman, SC 29349 INSURER D:
INSURER E :
INSURER F :

 

 

 

COVERAGES

CERTIFICATE NUMBER:

REVISION NUMBER:

 

THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

INSR TYPE OF INSURANCE ADDL BUBR POLICY NUMBER (DDI) MMOL) LIMITS
A | X | COMMERCIAL GENERAL LIABILITY EACH OCCURRENCE $ 1,000,000
| cLams-mave [ X | occur DEBP990342 03/02/2018) 03/02/2019 | BAMAGETORENTED | 50,000
MED EXP (Any one person) $ 15,000
PERSONAL & ADV INJURY _|§ 1,000,000
GEN'L AGGREGATE LIMIT APPLIES PER: GENERAL AGGREGATE $ 2,000,000
POLICY SECT LOC PRODUCTS - COMP/OP AGG | $ 2,000,000
OTHER: $
AUTOMOBILE LIABILITY ee CLE LIMIT | s
ANY AUTO BODILY INJURY (Per person) | $
OWNED SCHEDULED
AUTOS ONLY AUTOS BODILY INJURY (Per accident)| $
HIRED. NON-OWNED PROPERTY DAMAGE
|__| AUTOS ONLY AGTOS ONLY | (Per accident) $
$
UMBRELLA LIAB OCCUR EACH OCCURRENCE $
EXCESS LIAB CLAIMS-MADE AGGREGATE $
DED | | RETENTION$ $
PER OTH.
WORKERS COMPENSATION
AND EMPLOYERS’ LIABILITY vi STATUTE | | ER
ANY PROPRIETOR/PARTNER/EXECUTIVE E.L. EACH ACCIDENT $
OFFICER/MEMBER EXCLUDED? NIA
(Mandatory in NH) E.L. DISEASE - EA EMPLOYEE! $
If yes, describe under
DESGRIPTION OF OPERATIONS below EL. DISEASE - POLICY LIMIT | $
DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)

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CERTIFICATE HOLDER

CANCELLATION

 

Geeta Hospitality Inc
16610 Square Drive
Marysville, OH 43040

 

SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
ACCORDANCE WITH THE POLICY PROVISIONS.

 

 

AUTHORIZED REPRESENTATIVE
Alina A. Kreymer

 

 

ACORD 25 (2016/03)

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Sif Berkshire Hathaway. P.O. Box 1368
t AN Insur: Witkes-Barre, PA 18703-1368

iS G U A R rance 570-825-9900 (Toll-Free 800-673-2465)
7% Companies FAX 570-825-064 1

www .guard.com

09/19/2018

Claim Acknowledgment

This memo confirms our receipt on 09/18/2018 of the following Notice of Loss:

POLICYHOLDER: DEPENDABLE QUALITY CONSTRUCTION LLC

CARRIER: AMGUARD Insurance Company
POLICY #: DEBPS90342 ,
CLAIMANT: The Hampton Inn

DATE OF LOSS: 09/08/2018 ,

LOSS LOCATION: 16614 Square Dr, Marysville, OH 43040
TYPE OF Loss: Professional Liability

CLAIM TYPE: © Liability

CLAIM #: DEBP990342-001-001-001
ADIUSTOR: Lisa Stull

Extension: 4691 claims3@guard.com

Please use the claim number shown above in all correspé6ndence and inquiries, If you receive any notifications From
outside parties about damages, be sure to forward them to us Immediately.

For more information, contact our
Customer Service staff at 800-673-2465,

EXHIBIT

  
 

Any person who knowingly and with intent to defraud any insurance company or other person files an application for insurance or
staternent of claim containing any materially false information, ar conceals for the purpose of misleading, Information concerning any
fact material thereto, commits a fraudulent insurance act, which is a crime, and subjects such person to criminal and civil penaltien

 
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i.

Pal Marysville Hampton Inn 16610 Square Drive, Marysville, OH 43040 tel: 937.642.3777
oe fax: 937.642.3778

mie A

 

 

Lisa Stull

Berkshire Hathaway GUARD
PO Box 1368

Wilkes-Barre, PA 18703

Re: Polleyholder: Dependable Quality Construction LLC

Cartier: AmGUARD Insurance Company
Policy No: DEBP990342

Date of Loss: September 8, 2018

Claim No: DEBP990342-001-001-004

Dear Ms. Stull:

On or about May 17, 2018, we entered into an agreement with your insured, Dependable Quatity Construction, LLC, to
complete work on our behalf on our building at 16610 Square Drive, Marysville, Ohio 43040 including removal of the
existing roof and installation of a new roof.

While working on the project, your Insured negligently allowed water to enter the bullding resulting in significant
damages in excess of $500,000 for water mitigation, repair and replacement of da mages to the bullding, replacement of
damaged furniture, and loss of income.

Our claim was presented to you and you provided a claim acknowledgement dated September 19, 2019 confirming
receipt of the claim on or about September 18, 2018. Subsequent to that, we have responded to your inquiries and
provided documentation of our claim. We are unaware of any outstanding requests or requirements at this time,

Lisa, we are extremely confused. We have provided everything you have requested, You have not provided us with any
formal challenge or question as to coverage, liability, or damages yet it is now approximately ten (10) months since that
acknowledgement and the claim is now not resolved. Please contact the undersigned within the next ten (10) business
days to make payment arrangements or we will be forced to contact the Ohio Department of Insurance and potentially

pursue legal-assistarice In the resolution of this claim,

We look forward to your prompt response and assistance In this matter.

Best regards,

  

Amar Pantiey
President . , ; ;
Geeta Hospitality inc. dha Hampton Inn Marysville . G5 ote nose

16610 Square Dr., Marysville, OH 43040 . er ae

   

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2 / Berkshire Hathaway GUARD
: » P.O, Box 1368
a Berkshire Hathaway Wilkes-Barre, PA 18703-1368
eA G U A R D Insurance Toll-Free 800-673-2465
in Companies FAX 570-825-0611

Www.guard,.com
October 7, 2019

The Hampton Inn
16610 Square Dr
Marysville OH 43040

Policyholder: = DEPENDABLE QUALITY CONSTRUCTION LLC
Claimant: The Hampton Inn

Claim #: DEBP990342-001-001-001

Date of Loss: 09/08/2018

Claim Type: Liability

Dear Sir/Madam:

We have concluded our investigation into the above mentioned claim and we have determined
that that there is no applicable coverage under our insureds policy for your claimed damages. If
there is any information that may be valuable or could compromise our position to this
investigation please submit corresponding documentation for our review. Therefore, we must
respectfully deny your claim.

I may be reached at 800-673-2465, extension 7820 between the hours of 8:00am and 4:30pm
Monday through Friday. If leaving me a voicemail message, fax or email, please reference your
claim number,

Sincerely,

KaSheena Roberts
Liability Claims Representative II
1-800-673-2465 Ext. 7820 claims3@guard.com

 

Any person who knowingly and with intent to defraud any insurance company or other person files an application for Insurance or
statement of claim containing any materially false information, or conceais for the purpose of misleading, Information concerning any
fact material thereto, commits a fraudulent insurance act, which is a crime, and subjects such person to criminal and clvil penalties.

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Bryon R. Kaster . 717-731-4800
Attorney at Law Co a Fax; 888-811-7144
Admitted in PA Oo bkaster@dmclaw.com

September 23, 2019

Dependable Quality Construction, Inc.
416 Hoyt Ct,
Inman ,SC 29349

RE: Policy No.: DEBP990342
Claimant: Hospitality Synergy Group, Inc,
Claim No.: DEBP990342-001-001-001
Our File No.: 0056069.0393229

Dear Sir / Madam:

My law firm has been retained by AmGUARD Insurance Company (hereinafter
referred to as “AmGUARD”) with respect to a potential claim for coverage under the above
referenced policy of insurance by Hospitality Synergy Group, Inc. Please be advised that
there is no coverage because AMGUARD is rescinding the policy of insurance based upon
materially false statements in the insurance application.

As you know, AMGUARD issued a policy of insurance, policy number DEBP990342
(hereinafter referred to as “the Policy”), based upon an application that, in part, asked the
following questions:

Does the prospect do roofing work?
What is the percentage of residential work?
What is the percentage of commercial work?

The following answers were given on the application to each of these questions:

Does the prospect do roofing work? No
' What is the percentage of residential work? 100%
What is the percentage of commercial work? 0%

These questions were material to the risk covered in the Policy, and AMGUARD relied
upon these answers in issuing the Policy. Section.4 of the Policy Information Page of the
Policy describes the business as “Residential Remodelers”. The premiums set forth on the

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OICKIE, MeCAMEY & CHILCOTE, P.C. | ATTORNEYS AT LAW - _ EXHIBIT Ha CAUFORNIA | COLORADO { DELAWARE | MICHIGAN
MAIH: 717-731-4900 FAX: G88-811-71440 = * NeW JERsey-| NEWYORK | NORTH CAROLINA | O110
2576 INTERSTATE DRIVE, SUITE 105 | HARRISBURG; PA 17110-9301 | WH DWCLAWCOM 3 C “BB PENNSYLVANIA | SOUTH CAROLINA | WEST VIRGINIA

 
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September 23, 2019
Page 2

Policy Information Page were established based upon the information provided in the
application. po

The Examinations Under Oath (“EUO") of Valeriy Oleynik and Lillya Oleynik took
place on April 26,:2019 in Laurens County, South Carolina. Mr. and Mrs. Oleynik testified
that they are the owners of Dependable Quality Construction, Inc., and they testified that they
formed the company in 2017. Mr, and Mrs, Oleynik testified that they applied for the Policy
through the agency, REMCO INSURANCE SERVICES, INC. ("REMCO”) located in Southampton,
Pennsylvania. According to the Oleyniks, they provided information to REMCO as part of the
application process, During the EUO, Valeriy testified that Dependable Quality Construction,
Inc, has only ever done commercial work and has done roofing work, contrary to the answers
provided on the application.

Based upon the testimony of the Oleyniks and the materially false statements in the
insurance application, please be advised that there is no coverage for the potential claim
because AmMGUARD is rescinding the policy of insurance. However, if you believe that this
decision is in error and you have any additional information that you would like AmGUARD
to consider, kindly provide that information at your earliest convenience.

; . Very-truly yours,
Bryon R. Kaster
BRK/mas
ce: REMCO INSURANCE SERVICES, INC.
80 Second Street Pike
Suite 8

Southampton, PA 18966

PHELAN INSURANCE AGENCY, INC. / ATTN: Amanda Phelan
(amanda_phelan@phelanins.com)
